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                           UNITED STATES DISTRICT COURT
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                        SOUTHERN DISTRICT OF CALIFORNIA
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     DANIEL DREIFORT, individually and              Case No. 3:18-CV-02393-BTM-AHG
10   on behalf of others similarly situated,
11                                                  ORDER GRANTING JOINT
                        Plaintiff,                  MOTION TO DISMISS ACTION
12
                                                    PURSUANT TO FED. R. CIV. P.
13                v.                                41(a)(1)(A)(ii)
14   DJO GLOBAL, INC.; DJO, LLC; AND                [ECF NO. 36]
15   DOES 1-20,
16
                        Defendants.
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18         Pursuant to the Joint Motion to Dismiss pursuant to Fed. R. Civ. P.
19   41(a)(1)(A)(ii), (ECF No. 36), submitted by Plaintiff Daniel Dreifort and Defendants
20   DJO Global, Inc. and DJO, LLC, and good cause appearing, the Court hereby
21   ORDERS that the action be dismissed in its entirety, with prejudice as to Plaintiff’s
22   individual claims and without prejudice as to the claims of the putative class members.
23   Each party shall bear his/its own costs and attorneys’ fees.
24         IT IS SO ORDERED.
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26   Dated: ___July 14____________, 2021             By: __________________________
27                                                   HON. BARRY TED MOSKOWITZ
                                                     United States District Judge
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